Case 2:24-cv-03961-JFW-PD Document 34 Filed 07/01/24 Page 1 of 11 Page ID #:163




 1   Randall E. Kay (SBN 149369)                            Carolyn S. Toto (SBN 233825)
      rekay@jonesday.com                                      carolyn.toto@pillsburylaw.com
 2   JONES DAY                                              Pillsbury Winthrop Shaw Pittman LLP
 3   4655 Executive Drive, Suite 1500                       725 South Figueroa Street, 36th Floor
     San Diego, CA 92121                                    Los Angeles, CA 90017
 4   Telephone: +1.858.314.1200                             Telephone:     213.488.7100
 5
     Andrea W. Jeffries (SBN 183408)                        David J. Tsai (SBN 244479)
 6    ajeffries@jonesday.com                                  david.tsai@pillsburylaw.com
     JONES DAY                                              Alekzandir Morton (SBN 319241)
 7   555 South Flower Street, Fiftieth Floor                  alekzandir.morton@pillsburylaw.com
 8   Los Angeles, CA 90071                                  John Steger (SBN 341299)
     Telephone: +1.213.489.3939                               john.steger@pillsburylaw.com
 9                                                          Pillsbury Winthrop Shaw Pittman LLP
10   Sarah A. Geers (Admitted Pro Hac Vice)                 Four Embarcadero Center, 22nd Floor
      sgeers@jonesday.com                                   San Francisco, CA 94111-5998
11   JONES DAY                                              Telephone:      415.983.1000
     250 Vesey Street
12   New York, NY 10281                                     Attorneys for Defendants
13   Telephone: +1.212.326.3936                             The Regents Of The University Of
                                                            California and Hans David Ulmert
14   Attorneys for Plaintiff
15   Agensys, Inc.                                          Juan C. Castañeda
                                                              juan@ch-llp.com
16                                                          Castañeda + Heidelman LLP
                                                            125 S. Highway 101, Suite 1021
17                                                          Solana Beach, CA 92075
18                                                          Telephone: 858-431-9205
19                                                          Attorneys for Defendant
20                                                          Norbert Peekhaus

21                                 UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
22
23   AGENSYS, INC.,                                           Case No. 2:24-cv-03961-JFW (PDx)
24                                 Plaintiff,                 JOINT STATEMENT PURSUANT
                                                              TO STANDING ORDER ¶5(b) RE
25
             vs.                                              LOCAL RULE 7-3 PRE-FILING
26                                                            CONFERENCE
     THE REGENTS OF THE UNIVERSITY
27   OF CALIFORNIA, a California entity;                      Honorable John F. Walter
28   NORBERT PEEKHAUS, an individual;
     Joint Statement Pursuant to Standing Order ¶5(b)   1                 Case No. 24-cv-03961-JFW (PDx)

                                                                                             4888-6425-3901
Case 2:24-cv-03961-JFW-PD Document 34 Filed 07/01/24 Page 2 of 11 Page ID #:164




 1   HANS DAVID ULMERT, an individual;
     and Does 1-10,
 2
 3                                 Defendants.
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     Joint Statement Pursuant to Standing Order ¶5(b)   2   Case No. 24-cv-03961-JFW (PDx)
                                                                               4888-6425-3901
Case 2:24-cv-03961-JFW-PD Document 34 Filed 07/01/24 Page 3 of 11 Page ID #:165




 1                                             JOINT STATEMENT
 2           Pursuant to Local Rule 7-3 and this Court’s Standing Order, Paragraph 5(b),
 3   counsel for Plaintiff Agensys, Inc. (“Agensys” or “Plaintiff”), counsel for Defendants
 4   The Regents of the University of California (the “Regents”) and Dr. Hans David Ulmert
 5   (“Dr. Ulmert”), and counsel for Defendant Norbert Peekhaus (“Dr. Peekhaus”) engaged
 6   in a pre-filing conference wherein they discussed thoroughly the substance of
 7   Defendants’ contemplated motion to dismiss the complaint pursuant to Fed. R. Civ. P.
 8   12(b)(1) and 12(b)(6), as set forth in greater detail below. The parties respectfully
 9   submit this Joint Statement reporting on their pre-filing conference.
10           1.       The pre-filing conference was held over two days—June 21, 2024 and
11   June 27, 2024, and supplemented by multiple email exchanges between counsel.
12           2.       Each of the two sessions of the conference lasted approximately thirty (30)
13   minutes for a total of approximately sixty (60) minutes.
14           3.       The conference was conducted via Teams videoconference because
15   Plaintiff’s counsel and Dr. Peekhaus’s counsel are located in San Diego County and the
16   Regents’ and Dr. Ulmert’s counsel are located in San Francisco, California.
17           4.       The participants in both sessions of the conference were:
18           For Plaintiff: Lead counsel Randall Kay, Andrea Jeffries, and Sarah Geers.
19           For the Regents and Dr. Ulmert: Lead counsel David Tsai and Alekzandir
20   Morton. In addition, Natalie Truong participated in the June 27, 2024 conference.
21           For Dr. Peekhaus: Lead counsel Juan Castañeda and Rob Dunikoski.
22           5.       The parties discussed each of the arguments Defendants intend to raise in
23   support of their motions to dismiss and Plaintiff’s responses to those arguments. No
24   issues were resolved; Defendants will raise each of the arguments as originally set forth
25   in the pre-filing conference, but they have also expressly reserved the right to raise any
26   additional appropriate arguments in support of their respective motions.
27           6.       Those arguments are as follows:
28
     Joint Statement Pursuant to Standing Order ¶5(b)   3             Case No. 24-cv-03961-JFW (PDx)

                                                                                         4888-6425-3901
Case 2:24-cv-03961-JFW-PD Document 34 Filed 07/01/24 Page 4 of 11 Page ID #:166




 1   (1) Sovereign Immunity (Fed. R. Civ. P. 12(b)(1)).
 2           Defendants Regents and Drs. Ulmert and Peekhaus contended during the pre-
 3   filing conference that the DTSA claim must be dismissed under Rule 12(b)(1) for lack
 4   of subject matter jurisdiction under the doctrine of state sovereign immunity. See Fast
 5   Enters., LLC v. Pollack, No. 16- CV-12149-ADB, 2018 WL 4539685, at *2 (D. Mass.
 6   Sept. 21, 2018); MedSense, LLC v. Univ. Sys. of Maryland, 420 F. Supp. 3d 382, 392
 7   (D. Md. 2019); Evans v. Presidio Tr., No. 19-CV-08025-HSG, 2020 WL 6802422, at
 8   *3 (N.D. Cal. Nov. 19, 2020). Dr. Peekhaus also contended that the DTSA did not
 9   constitute a valid congressional waiver of sovereign immunity because the statute was
10   enacted pursuant to Congress’s Article I powers and not its power to enforce the
11   Fourteenth Amendment to the U.S. Constitution. Seminole Tribe of Fla. v. Florida, 517
12   U.S. 44, 72–73 (1996) (Rehnquist, C.J.) (overruling Justice Brennan’s plurality opinion
13   in Pennsylvania v. Union Gas Co., 491 U.S. 1 (1989)).
14           Defendant Regents also contended during the pre-filing conference that the DJA
15   claim against the Regents is subject to dismissal under state sovereign immunity. See
16   Nat’l Audubon Soc’y, Inc. v. Davis, 307 F.3d 835, 847 (9th Cir. 2002). Further, the
17   declaration that Agensys seeks is that it is entitled to “sole or joint legal and equitable
18   ownership” of certain patent rights. Compl., ¶ 98. Defendants Regents and Dr. Ulmert
19   contend that this is, in essence, requesting a reassignment of the patent application or
20   correction of inventorship of the patent. According to Defendants Regents and Dr.
21   Ulmert, the Federal Circuit has affirmed dismissals of similar suits based on sovereign
22   immunity. See, e.g., Xechem Int’l, Inc. v. Univ. of Tex. M.D. Anderson Cancer Ctr.,
23   382 F.3d 1324, 1332 (Fed. Cir. 2004).
24           In response, Plaintiff Agensys disputed that its claims against any of the
25   Defendants is barred by the doctrine of sovereign immunity. During the pre-filing
26   conference, Agensys explained that 18 U.S.C. § 1833(a)(1) authorizes a DTSA claim
27   against the State for unlawful activity such as the misappropriation alleged in Agensys’
28   complaint. Congress amended Section 1833 when it enacted the DTSA. The text of 18
     Joint Statement Pursuant to Standing Order ¶5(b)   4            Case No. 24-cv-03961-JFW (PDx)
                                                                                        4888-6425-3901
Case 2:24-cv-03961-JFW-PD Document 34 Filed 07/01/24 Page 5 of 11 Page ID #:167




 1   U.S.C. § 1833(a)(1) already existed pre-DTSA as part of the Economic Espionage
 2   Act. Congress’ enactment of the DTSA expressly considered actions against the State
 3   and only exempted actions over “otherwise lawful activity” such as a response to a
 4   public records law request (Fast Enterprises v. Pollack, 2018 WL 4539685 (D. Mass.
 5   Sept. 21, 2018)) or conduct during execution of a search warrant (Naicom Corp. v. DISH
 6   Network Corp., 2024 WL 1363781 (D. Puerto Rico Mar. 29, 2024)). Far from
 7   exempting States from civil actions pursuing the remedies Congress provided for the
 8   theft of trade secrets, the language of 18 U.S.C. § 1833(a)(1) provides a clear statement
 9   that Congress intended to prohibit States from engaging in unlawful activity in violation
10   of the DTSA, abrogating sovereign immunity from suit for misappropriation. No
11   appellate court has held to the contrary.
12           No resolution of this issue was reached.
13           Plaintiff Agensys also stated during the pre-filing conference that it is considering
14   amending the complaint to add allegations under Ex Parte Young. Agensys solicited
15   Defendants’ views on such an amendment. Agensys identified seven (7) officers of the
16   Regents for purposes of its contemplated amendment, and inquired as to whether the
17   Regents would argue that any of the identified officers would be improper or incorrect
18   to name in their official capacity. Defendant Regents stated that it believed some of the
19   individuals may be incorrect. Defendant Regents further requested that Agensys clarify
20   the injunctive relief it anticipated seeking under Ex Parte Young; to the extent it
21   included a mandatory injunction requiring any appropriately named official to transfer
22   ownership of any patents to Agensys, then such an injunction is not available under the
23   DTSA because it is not an injunction to “protect” any trade secrets. Dr. Peekhaus
24   contended that Plaintiff has no basis for an Ex Parte Young claim against him because
25   he is no longer employed by the university, and therefore he is not a person “who would
26   be responsible for implementing any injunctive relief.” R.W. v. Columbia Basin Coll.,
27   77 F.4th 1215 (9th Cir. 2023). Defendants reserve the right to further present this and
28   other arguments should Agensys improperly add Ex Parte Young allegations.
     Joint Statement Pursuant to Standing Order ¶5(b)   5             Case No. 24-cv-03961-JFW (PDx)
                                                                                         4888-6425-3901
Case 2:24-cv-03961-JFW-PD Document 34 Filed 07/01/24 Page 6 of 11 Page ID #:168




 1   (2) Qualified Immunity As to Dr. Ulmert and Dr. Peekhaus (Fed. R. Civ. P.
 2   12(b)(1)).
 3           Defendants Drs. Ulmert and Peekhaus contended during the pre-filing conference
 4   that Agensys cannot bring a DTSA claim against Drs. Ulmert and Peekhaus where
 5   Agensys fails to allege that Drs. Ulmert and Peekhaus violated clearly established
 6   statutory or constitutional rights. See Association for Info. Media and Equip. v. Regents
 7   of the Univ. of California, 2012 WL 7683452 (C.D. Cal. Nov. 20, 2012) (applying
 8   qualified immunity in a copyright case). Here, Drs. Ulmert and Peekhaus stated that
 9   Agensys makes only conclusory allegations against them that merely recite the elements
10   of a misappropriation claim; it provides no specific factual allegations showing any
11   violation of the DTSA by Dr. Ulmert or Dr. Peekhaus. See, e.g., Compl. ¶ 83.
12   Defendants stated that Courts have held that these types of conclusory allegations were
13   insufficient to establish a violation of “clearly established statutory or constitutional
14   rights.” See, e.g., Argueta v. U.S. Immigr. & Customs Enf’t, 643 F.3d 60, 74, 77 (3d
15   Cir. 2011). Drs. Ulmert and Peekhaus further stated that the Complaint fails to
16   sufficiently allege any purported violation of the DTSA outside of the scope of their
17   employment with UCLA.
18           During the pre-filing conference, Agensys disputed Defendants’ arguments and
19   contended that neither Dr. Ulmert nor Dr. Peekhaus have qualified immunity for their
20   conduct that violated(s) the Defend Trade Secrets Act (18 U.S.C. § 1836 et seq.).
21   Qualified immunity does not attach to conduct in one’s personal capacity or in violation
22   of clearly established statutory rights of which a reasonable person would have
23   known. While some of the allegations in the complaint relate to the work Drs. Ulmert
24   and Peekhaus performed within the course and scope of their employment at UCLA,
25   both Dr. Ulmert and Dr. Peekhaus also are alleged to have violated the DTSA
26   prohibition against misappropriation in their personal capacities separate from any
27   affiliation with UCLA. For example, see Complaint, paragraphs 57-62 (Dr. Ulmert’s
28   actions in affiliation with Radiopharm); and Complaint paragraphs 30-33 and 63-66
     Joint Statement Pursuant to Standing Order ¶5(b)   6          Case No. 24-cv-03961-JFW (PDx)
                                                                                      4888-6425-3901
Case 2:24-cv-03961-JFW-PD Document 34 Filed 07/01/24 Page 7 of 11 Page ID #:169




 1   (Dr. Peekhaus’s action in affiliation with Agensys and with Zelgen). Agensys further
 2   explained that both Dr. Ulmert and Dr. Peekhaus are alleged to have violated clearly
 3   established statutory rights which a reasonable person would have known. A
 4   reasonable person would know that theft of Agensys’ technology violates clearly
 5   established trade secret laws. Qualified immunity is an affirmative defense and the facts
 6   alleged in Agensys’ complaint do not establish the existence of the defense. As such,
 7   qualified immunity cannot form the basis for a Rule 12 motion. Association for Info.
 8   Media and Equip., v. Regents of the Univ. of California, 2012 WL 7683452 (C.D. Cal.
 9   Nov. 20, 2012). Defendants have not cited any authority for qualified immunity
10   defeating a DTSA claim.
11           No resolution was reached on this issue.
12   (3) Failure to Plead Trade Secret Misappropriation (Fed. R. Civ P. 12(b)(6)).
13           All Defendants contended during the pre-filing conference that in order to plead
14   indirect trade secret misappropriation, Agensys is required to sufficiently plead that the
15   Regents and Dr. Ulmert knew or had reason to know before the use or disclosure that
16   the information was a trade secret and knew or had reason to know that the disclosing
17   party had acquired it through improper means or was breaching a duty of confidentiality
18   by disclosing it. See California Police Activities League v. California Police Youth
19   Charities, Inc., at *3 (N.D. Cal. Mar. 3, 2009) (citing Steinberg Moorad & Dunn, Inc.
20   v. Dunn, 2002 WL 31968234 at *23 (C.D. Cal., Dec.26, 2002)). Defendants contended
21   that other than making a conclusory allegation reciting this element, Agensys failed to
22   make any specific factual allegation establishing this element. See Compl., ¶ 83.
23   According to Defendants, California federal courts routinely hold that this type of
24   conclusory pleading, without additional factual support, is insufficient to plead the
25   knowledge element of indirect trade secret misappropriation. See, e.g., Navigation
26   Holdings, LLC v. Molavi, 445 F. Supp. 3d 69, 78–79 (N.D. Cal. 2020).
27           Agensys disputed at the pre-filing conference that it has failed to adequately plead
28   trade secret misappropriation under the DTSA as to any defendant. As set forth in the
     Joint Statement Pursuant to Standing Order ¶5(b)   7             Case No. 24-cv-03961-JFW (PDx)
                                                                                         4888-6425-3901
Case 2:24-cv-03961-JFW-PD Document 34 Filed 07/01/24 Page 8 of 11 Page ID #:170




 1   Complaint, Regents and Drs. Ulmert and Peekhaus are responsible for misappropriation
 2   as direct actors for their acquisition, use and disclosure of Agensys’ trade secrets. 18
 3   U.S.C. § 1839(5). There is no heightened pleading standard by virtue of Regents’ and
 4   Dr. Ulmert’s acquisition of Agensys’ trade secrets from Dr. Peekhaus. See Beckmann
 5   v. Synertech P/M, Inc., No. SACV 11-01421-CJC(RNBx), 2011 WL 13355951, at *2
 6   (C.D. Cal. Dec. 1, 2011). Further, Agensys contends that a plaintiff is permitted to
 7   plead based on information and belief for information that is not presumptively in its
 8   knowledge. See Brocade Commc’n. Sys., Inc. v. A10 Networks, Inc., No. 10-CV-03428-
 9   LHK, 2011 WL 1044899, at *6 (N.D. Cal. Mar. 23, 2011). Agensys’ complaint alleges
10   facts stating a plausible claim of misappropriation at paragraphs 43-55, 80-81 and 83-
11   85 (Regents and Dr. Ulmert knowingly used and disclosed the asserted trade secrets in
12   filing patent applications and in developing the subject matter of the applications).
13   Paragraph 83 of the Complaint alleges that Regents and Dr. Ulmert knew, reasonably
14   should have known, or were willfully blind that their use and disclosure of Agensys’
15   trade secrets violated Agensys’ rights. Thus, Agensys contended at the pre-filing
16   conference that its Complaint fully meets the pleading standards for alleging
17   misappropriation.
18           No resolution was reached on this issue.
19   (4) The DJA Claim is Premature and Cannot Stand Alone (Fed. Civ. P. R.
20   12(b)(1)).
21           All Defendants contended at the pre-filing conference that Agensys’ declaratory
22   relief claim seeking “legal and/or equitable ownership and/or other property interest in
23   the Patent Rights” is premature. See Compl., ¶ 97. Courts have found similar actions
24   premature where they are based only on a pending patent application, rather than an
25   issued patent. See, e.g., HIF Bio, Inc. v. Yung Shin Pharms. Indus. Co., 600 F.3d 1347,
26   1353–54 (Fed. Cir. 2010). Defendants argued that given that there are no issued patents
27   here (only patent applications), there are no “Patent Rights” for Agensys to seek
28   reassignment of at this time.                      While Defendants acknowledged Agensys’
     Joint Statement Pursuant to Standing Order ¶5(b)     8              Case No. 24-cv-03961-JFW (PDx)
                                                                                            4888-6425-3901
Case 2:24-cv-03961-JFW-PD Document 34 Filed 07/01/24 Page 9 of 11 Page ID #:171




 1   representations during the pre-filing conference that it is not seeking a correction of
 2   inventorship and it does not dispute that the correct inventors are named in the patent
 3   applications, Defendants contended that the DJA claim—which is based entirely on
 4   Agensys’ allegations of trade secret misappropriation—still fails because it cannot stand
 5   on its own if the DTSA claim is dismissed.
 6           Plaintiff Agensys explained at the pre-filing conference that the Declaratory
 7   Judgment Act claim is not premature. Defendants improperly cite to authority involving
 8   inventorship whereas Agensys’ declaratory relief claim addresses patent ownership, not
 9   inventorship. A plaintiff can seek declaratory judgment that it is the owner of patent
10   applications held by the defendant. Allergia, Inc. v. Bouboulis, No. 14-CV-1566 JLS
11   (RBB), 2015 WL 11735654, at *5 (S.D. Cal. Aug. 17, 2015) (citing Benitec Austl., Ltd.
12   v. Nucleonics, Inc., 495 F.3d 1340, 1343 (Fed. Cir. 2007)). Thus, assignment of patent
13   applications is a remedy that courts may award under the Declaratory Judgment Act and
14   the claim is not premature.
15           No resolution was reached on this issue.
16   (5) Failure to State A Claim for Breach of Contract Against Dr. Peekhaus (Fed.
17   R. Civ. P. 12(b)(6)).
18           Dr. Peekhaus contended at the pre-filing conference that Plaintiff Agensys’s
19   breach of contract claim must be dismissed because the Complaint does not plausibly
20   allege that Agensys, Inc., is a party to the alleged contract at issue. Dr. Peekhaus
21   contended that the alleged contract, though not attached to the Complaint, can be
22   considered by the Court in ruling on a motion to dismiss because it is “described” and
23   “integral” to the Complaint. Orellana (blanca Estella) v. Mayorkas, 6 F.4th 1034 (9th
24   Cir. 2021). Dr. Peekhaus further contended that Agensys, Inc. did not execute the
25   document, despite Plaintiff’s express contention to the contrary (Compl. ¶ 67).
26   Dr. Peekhaus further contended that the document’s sole passing reference to Agensys,
27   Inc., did not make the company a party to the alleged agreement.
28
     Joint Statement Pursuant to Standing Order ¶5(b)   9          Case No. 24-cv-03961-JFW (PDx)
                                                                                      4888-6425-3901
Case 2:24-cv-03961-JFW-PD Document 34 Filed 07/01/24 Page 10 of 11 Page ID #:172




 1           Plaintiff Agensys disputed at the pre-filing conference that the Complaint fails to
 2   state a claim for breach of contract against Dr. Peekhaus. Agensys contends that it
 3   adequately pled that Agensys is a party to a valid contract with Dr. Peekhaus. See
 4   Complaint paragraphs 100 and 110. The allegations of the complaint clearly plead that
 5   Agensys is a party to the agreement. See paragraphs 67, 100 and 110. Directly above
 6   Dr. Peekhaus’ signature, the contract states “I further agree that Astellas is deemed to
 7   have accepted this Agreement as evidenced by my employment with Astellas and/or the
 8   payment of wages or monies to me.” (paragraph 9.F). The term “Astellas” is defined
 9   in the agreement to include Agensys. On a motion to dismiss, all well-pleaded
10   allegations of material fact are taken as true and construed in a light most favorable to
11   the non-moving party. Wyler Summit Partnership v. Turner Broadcasting System, Inc.,
12   135 F.3d 658 (9th Cir. 1998), citing Parks School of Business, Inc. v. Symington, 51 F.3d
13   1480, 1484 (9th Cir. 1995). Under Rule 12(b)(6), a complaint “should not be dismissed
14   unless it appears beyond doubt that [the] plaintiff can prove no set of facts in support of
15   his claim which would entitle him to relief.” Id., citing Hydranautics v. Filmtec Corp.,
16   70 F.3d 533, 535–36 (9th Cir. 1995). Under these principles, Agensys contended at the
17   pre-filing conference that it has stated a contract claim against Dr. Peekhaus.
18           No resolution was reached on this issue.
19   Dated: July 1, 2024                           PILLSBURY WINTHROP SHAW PITTMAN LLP
20
21                                            By:          /s/ David J. Tsai
                                                        David J. Tsai
22
                                                        Attorneys for Defendants The Regents Of The
23                                                      University Of California and Hans David Ulmert
24
25   Dated: July 1, 2024                           CASTAÑEDA + HEIDELMAN LLP
26
                                              By:          /s/ Juan Castañeda
27                                                      Juan Castañeda
28                                                      Attorneys for Defendant Norbert Peekhaus
     Joint Statement Pursuant to Standing Order ¶5(b)         10                Case No. 24-cv-03961-JFW (PDx)
                                                                                                   4888-6425-3901
Case 2:24-cv-03961-JFW-PD Document 34 Filed 07/01/24 Page 11 of 11 Page ID #:173




 1   Dated: July 1, 2024                                JONES DAY
 2
                                              By:          /s/ Randall E. Kay
 3
                                                        Randall E. Kay
 4                                                      Attorneys for Plaintiff Agensys, Inc.
 5
 6
 7
 8                                                  ATTESTATION
 9           Pursuant to Local Rule 5-4.3.4(a)(2)(i), all signatories listed, and on whose
10   behalf the filing is submitted, concur in the filing’s content and have authorized the
11   filing by email.
12
                                                                /s/ David J. Tsai
13                                                            David J. Tsai
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     Joint Statement Pursuant to Standing Order ¶5(b)         11                  Case No. 24-cv-03961-JFW (PDx)
                                                                                                     4888-6425-3901
